     Entered on Docket August 8, 2017
                                                    Below is the Order of the Court.


                                                    _______________________________
                                                    Marc Barreca
                                                    U.S. Bankruptcy Judge
                                                    (Dated as of Entered on Docket date above)




________________________________________________________________




 1                         IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON, AT SEATTLE
 2

 3    In re:                                              )   Case No. 12-11140 MLB
                                                          )   Chapter 7
 4    KENT DOUGLAS POWELL and                             )
      HEIDI POWELL,                                       )   ORDER AUTHORIZING SALE OF
 5
                                                          )   DOMAIN NAME AND THE RELATED
 6                     Debtors.                           )   CONTRACT RIGHTS
                                                          )
 7
               Dennis Lee Burman, Trustee, moved for an order approving the assumption of the contract rights
 8
      involving GoDaddy.com, LLC and the related domain name, https://www.heidipowell.com, and for the
 9
      sale of those contract rights and that domain name. Subject to the approval of this Court, Trustee had
10
      accepted an offer from “Arizona Heidi Powell” to purchase for $20,000.00 said contract rights and domain
11    name.

12             Notice of the motions was given by Trustee to Debtors, Debtors’ attorney, the U.S. Trustee’s
      Office, all creditors, and GoDaddy.com, LLC. Trustee had also spoken to the attorney for GoDaddy.com,
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      LLC about the pending motions. GoDaddy.com, LLC did not object/respond. No creditors
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      objected/responded. The only parties who objected were the Debtors.
15             This Court had denied without prejudice Trustee’s previous motion to sell said domain name. At
16    that time no creditor had objected to the sale of the domain name for an amount lower than $20,000.00.

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               On June 12, 2017, a hearing on the motions was held. Present were the Trustee, Debtors, and
      Debtors’ counsel, Tom Lester. The Court considered the arguments of the Trustee and of the Debtors’
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      attorney and considered the documents submitted by them. The Court deems itself fully advised in the
19
                                                                                 Dennis Lee Burman, Attorney at Law
20                                                                                                1103 Ninth Street
      ORDER APPROVING SALE OF DOMAIN                                                                 P.O. Box 1620
      NAME AND RELATED CONTRACT RIGHTS - 1                                                    Marysville, WA 98270
21                                                                                            Phone (360) 657-3332
                                                                                              Fax (360) 657-3522
Case
22   12-11140-MLB            Doc 76      Filed 08/08/17       Ent. 08/08/17 11:56:19             Pg. 1 of 3
1    premises and having jurisdiction. The Court also considered the significant briefing by Trustee and by
2    Debtors’ attorney that was filed in connection with the prior motion of the Trustee.
             This Court had previously found that the domain name https://www.heidipowell.com is an asset of
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     the bankruptcy estate, not having been abandoned when this case originally closed due to the domain name
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     not having been scheduled in the original bankruptcy schedules of the Debtors.
5            Given the limited market available for such domain names and given Trustee’s negotiations with
6    “Arizona Heidi Powell” that resulted in her offer being increased from $10,000.00 to $20,000.00, the

7    Court finds that Trustee has satisfied his duties to adequately market the domain name and to obtain
     adequate value for the estate. Even if a personal services contract is involved in this matter,
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     GoDaddy.com, LLC has waived any objections that it might have under 11 U.S.C. §365 by not responding
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     to the motion for the proposed sale.
10           Debtors have no permanent right to the use of the domain name. Nor is their concern about
11   privacy concerns legal cause to deny the motions. Now therefore,
             The Court’s oral ruling on June 12, 2017 is incorporated by reference herein.
12
             IT IS ORDERED the Trustee is authorized to assume the GoDaddy Domain Name Registration
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     Agreement between GoDaddy.com, LLC and Debtors. The Trustee is authorized to sign any appropriate
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     or necessary documents.
15
             IT IS ORDERED that Trustee is authorized to sell to “Arizona Heidi Powell” for $20,000.00 the
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     domain name https://www.heidipowell.com and the related contract rights with GoDaddy.com, LLC. To
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     the extent that Debtors’ involvement is desired by Trustee and/or GoDaddy.com, LLC to effect the sale
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     and transfer, Debtors will cooperate with Trustee and/or with GoDaddy.com, LLC accordingly. In any
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     event, Trustee is empowered to act on behalf of Debtors as it relates to said domain name for the purpose
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     of effecting the transfer through GoDaddy, including the signing of all necessary or appropriate
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     documents.
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             IT IS ORDERED that the purchase by “Arizona Heidi Powell” shall not include (or entitle
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     purchaser to) any interest in or access to emails sent or received by Debtors prior to said sale/transfer.
24
     Arizona Heidi Powell shall respect Debtors desire to keep emails sent or received by Debtors prior to
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     sale/transfer private.
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             IT IS ORDERED that Trustee shall strive to have the sale/transfer take place on August 15, 2017.

             IT IS ORDERED that Trustee is authorized to make an interim disbursement to Debtors’ counsel

     in the amount of $7,945.01 (representing their exempt funds) from the $20,000.00.
                                                                             Dennis Lee Burman, Attorney at Law
                                                                                                 1103 Ninth Street
     ORDER APPROVING SALE OF DOMAIN                                                                 P.O. Box 1620
     NAME AND RELATED CONTRACT RIGHTS - 2                                                    Marysville, WA 98270
                                                                                             Phone (360) 657-3332
                                                                                             Fax (360) 657-3522
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1                                         ///END OF ORDER//
2    Presented by:
3    /s/ Dennis Lee Burman
     _________________________________
4    DENNIS LEE BURMAN, WSBA #7875
     Trustee in Bankruptcy
5

6    Copy received, approved for entry,
     and notice of presentation waived:
7
     /s/ Tom Lester by Dennis Lee Burman
8
     per 8/4/2017 email authorization
9    ________________________________
     TOM LESTER, WSBA #15814
10   Attorney for Debtors
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                                                                   Dennis Lee Burman, Attorney at Law
                                                                                    1103 Ninth Street
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